Case: 4:15-cv-01215-AGF Doc. #: 1-1 Filed: 08/10/15 Page: 1 of 43 Page|D #: 5

    

   

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| issi_¢ccons'/ - s'?. Louis HEART cENTER, v ATHENAHEALTH, iNc. § Ai_ (E-cAsE) |

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i"%% A¢\wngz_¢_ we m"a°°s;?mm°'°"" M¢i»"'¢}m '“m»”'°'- H S' da"'rd¢i.i. c“'“ am l

This union'naiion is provided as semmes and is not considered an official court record

 

 

 

 

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Ascending

07/21/2015 m Corresgondence Sent

m Case Mgmt Conf Schedu|ed

Schedu|ed For: 08/18/2015; 9'00 AM ; ELLEN HANN|GAN RlBAUDO, St Louis County
07/10/2015 [:] em served
Document |D - 15'SMCC-4864; Served To - ATHENAHEALTH, lNC.; Server - CT CORP; Served Date - 10-JUL-15; Served
Time - 00 OO:OO; Service Type ~ Territory 30; Reason Description - Served; Servioe Text - LC

uslw/2015 m A|ias Summons issued

Document |D: 15-SMCC-4864, for ATHENAHEALTH, |NC.. Summons Attached in PDF Form for Attomey to Retrieve from
Secure Case.Net and Process for Service.

06/17/2015 m Note to C|erk eFi|ing

Filed By: MAX GEORGE MARGUL|S
m A|ias Summons Regu§ged

P|aintif|’s Motion to have the alias summons issued to Defendant AthenaHea|th, |nc..
Filed By: MAX GEORGE MARGUL|S
On Beha|f Of: ST. LOU|S HEART CENTER, lNC.

mims/2015 m Cgrr§sgondence Filed

Rejection of Service of Process for AthenaHea|th, |nc..
Filed By: MAX GEORGE MARGUL|S
On Beha|f Of: ST. LOU|S HEART CENTER, lNC.

06/08/2015 g Corgoration Served

Document |D ~ 15-SMCC-3988; Served To - ATHENAHEALTH. |NC.; Server - ; Served Date - 02-JUN-15; Served Time -
00:00:00; Servioe Type - Sheriff Department; Reason Description - Served; Service Text - SHELLEY LEW|Sl LEGAL

asme/2015 m Summons issued-Circuit
Document |D: 15~SMCC-3988, for ATHENAHEALTH, |NC.. Summons Attached in PDF Form for Attorney to Retrieve from
Secure Case.Net and Prooess for Service.

05/21/2015

m Fiiing |nfo Sheet eFi|ing

Filed By: MAX GEORGE MARGUL|S
m Note to C|erk eFi|ing

Filed By: MAX GEORGE MARGUL|S
m Motion Filed

Motion for Class Certitication.
Filed By: MAX GEORGE MARGUL|S
On Beha|f Of: ST. LOU|S HEART CENTER, lNC.

EXH|B|T A

Case: 4:15-cv-01215-AGF Doc. #: 1-1 Filed: 08/10/15 Page: 2 of 43 Page|D #: 6

[] Pet Fi|g in Circuit CL

C|ass Action Petition.

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Case.net Version 5.13.7.1 Re!urn to Tog of Page Re|eased 06/24/2015

 

Case: 4:15-cv-01215-AGF Doc. #: 1-1 Filed: 08/10/15 Page: 3 of 43 Page|D #: 7

JOAN M. G|LMER

C|RCU|T CLERK ShPEC|AL NEZBSh: giyo:.gt?ve::ted'al needs adi:tr\essed by

f A ` lt . ii C' if
ST' LOU|S COUNTY C|RCU|T COURT C|:rk'l:%`f‘f:iao: 81314/68185-808289. FaXp36‘la4s/g1n5°»8fz39,eorl`ll,$¥
105 SOUTH CENTRAL AVENUE 314/615-4567. at least three business days in advance of
CLAYTON, MlSSOURl 63105 -1766 _ fh€ C°u"t Pf°Ceeding-

IN THE C|RCU|T COURT OF ST. LOU|S COUNTY, MlSSOURl

CASE NUMBER; 158L-CCO1757 COURT DATE: AUGUST 18, 2015
ST. LOUlS HEART C_ENTER, lNC. COURT TlME: 09:00 AM
VS D|VlSlON: D|V36

ATHENAH EALTHl lNC.

THE ABOVE STYLED CASE |S SET FOR A CASE MANAGEMENT CONFERENCE AT THE DATE,
T|ME AND D|VlSlON lND|CATED ABOVE. YOU MUST APPEAR AT THE CONFERENCE.
FA|LURE TO APPEAR WlLL RESULT lN THE COURT’S DES|GNAT:ION OF THE DISCOVERY
SCHEDULE AND MAY RESULT IN SANCT|ONS OR THE CASE BE|NG D|SMlSSED.

JOAN M. G|LMER, C|RCU|T CLERK
Ju|y 21, 2015

 

158L-CCO1757 D|V36
ATHENAHEALTH |NC

CT CORPORATION SYSTEM
120 SOUTH CENTRAL AVE
CLAYTON, MO 63105

Case: 4:15-cv-01215-AGF Doc. #: 1-1 Filed: 08/10/15 Page: 4 of 43 PagelD #: 8

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IN THE ZIST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI /:23
Judge or Division: Case Number: lSSL-CCM 757
ELLEN HANNIGAN RIBAUDO
Plaintiff/Petitioner: P|aintiff"s/Petitioner’s Attomey/Address
ST. Louis HEART CENTER, lNC. MAX GEORGE MARGUL|S
28 oLD BELLE MONTE 11vo SHER|FF FEE

vs. CHESTERFlELD, M0 63017 pA|p
Defendant/Respondent: Colm Addl'$§!
ATHENAHEALTH, lNC, ST LOUIS COUNTY COURT BUILDING
Namofsu.'t; lc<>LSSyOT%T;* §%N;§$LAVENHE D
CC Injuriction g A ’ 5 (FDate FlileSL

Summons in Civil Case JUL | 3

The State of Missouri to: ATHENAHEALTH, lNC.
Alias; JOAN M G|LM

Cr coRPoRA'rloN svsTEM C|RW|T€LE¥K,

120 sourn cEN'rRAL sz BOC/’CO{ZC/ ST LOU|S

CLAYTON, MO 63105

COURTSEAL OF You are summoned to appear before this court and to Ele your pleading to the petition, a copy of

which is attached, and to serve a copy of your pleading upon the attorney for PlaintiH'/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. lf you fail to
Gle your pleading, judgment by default may be taken against you for the relief demanded in the petition.
SYECIAL NEEDS: lf you have special needs addressed by the Americans With Disabi|ities A'ct, please
notify the Offlce of the Circuit Clerk at 314-615-8029, FAX 314-615~8739 or 'I'I`Y at 314-615-4567, at least
three business days in advance of the court proceeding.

 

871 L OUlS COUNTY

2a !lN-ZQI 5
Date C|erk

Further lnlormatlon:
'I`LC

 

Sherifl's or Server’s Return
Note to sewing omcer: Summons should be returned to the court within thirty days after the date of issue.
l certify that l have served the above summons by: (check one)

[:l delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
m leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with

a person of the Defendant’ s/Respondent’ s family over the age of l§ears.
m (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

m r: §§ --z
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(name) .;"\‘L ,._- gqqc).
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St¢ Loul§ QQl,Illt¥ (County/City ofSt Louis), MO,J{ ll l n zg !5 '(date) at C> r' ___T_______:__%meg A in

'nted Name of Sherif'i' or Server

Must be sworn before a notary public if not served by an auth ~-» ofliccr:
Subscribed and sworn to before me on (date).

 

 
 

(Seal)
My commission expires:

 

 

Date Notary Public

 

Sheriff‘s Fees, if applicable

Summons $

Non Est $

Sherifi’s Deputy Sa|ary

Supplemental Surcharge $ iQ,QQ

Mil¢agc $ ( miles @ $. per mile)
Total $

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits/,;e)$upreme Court Rule 54.

 

 

 

O A /)/SM$O (SMCC) For Cour¢ Use Only. Doeument |D# lS-SMCC-4864 l (Civi| Procedure Form No. l, Rulcs 54.0| - 54.05,
54. l 3, and 54.20; 506.|20 - 506. |40, and 506.150 RSMo

Case: 4:15-cv-01215-AGF Doc. #: 1-1 Filed: 08/10/15 Page: 5 of 43 PagelD #: 9

___
3 IN THE ZIST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 

 

 

 

 

 

Judge or Division: Case Number: lSSL-CC01757
ELLEN HANNIGAN RlBAUDO
Plaintiff/Petitioner: Plaintiff’s/Petitioner’s Attomey/Address
sT. Louis HEART CENTER, lNC. MAX GEORGE MARGULIS
28 0LD BELLE MONTE ROAD SHER|FF FEE
vs. CHESTERFIELD, MO 63017 pA|D
Defendant/Respondent: COUl'f Addr€SSZ
ATHENAHEALTH, [NC_ ST LOUIS COUNTY COURT BUILDING
. _ 105 SOUTH CENTRAL AVENUE
Nat“r°-’ °f S~“’t' cLAYTON, Mo 63105 .
CC lnjunction (Date File Stamp)

 

 

 

Summons in Civil Case

The State of Missouri to: ATHENAHEALTH, INC.
A|ias:

 

CT CORPORATION SYSTEM
120 SOUTH CENTRAL AVE
CLAYTON, MO 63l05

You are summoned to appear before this court and to tile your pleading to the petition, a copy of
which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

SPECIAL NEEDS: lf you have special needs addressed by the Americans With Disabilities Act, please

notify the Oi`i`ice of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least
three business days in advance of the court proceeding.

 

ST. LOUIS COUNTY
23-JUN-2015
Date Clerk

Further lnformation:
TLC

 

Sheriff’s or Server’s Return
Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
l certify that l have served the above summons by: (check one)
El delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.

E] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Def`endant/Respondent with
a person of the Defendant’s/Respondent’s family over the age of 15 years.

m (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

 

 

(name) (title).
El other
Served at (address)
in (County/City of St. Louis), MO, on (date) at (time).
Printed Name of Sheriii` or Server Signature of Sherlff or Server
Must be sworn before a notary public if not served by an authorized officer:
Subscribed and sworn to before me on (date).
(Seal)
My commission expires:
Date Notary Public
Sherift’s Fees, if applicable
Summons $
Non Est $
Sherif`i`s Deputy Salary
Supplementa| Surcharge $ 10.00
Mileage $ ( miles @ $. __ __ per mile)
Total $

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

 

 

 

OSCA (7-99) SM30 (SMCC) For Coun Use Only: Document lD# lS-SMCC-4864 l (Civil Procedure Form No. l, Rules 54.01 - 54.05,
54.l3, and 54.20; 506.|20 - 506.|40, and 506.|50 RSMo

Case: 4:15-cv-01215-AGF Doc. #: 1-1 Filed: 08/10/15 Page: 6 of 43 PagelD #: 10

THE C|RCU|T COURT OF ST. LOU|S COUNTY, MlSSOURl

Twenty First Judicial Circuit

NOT|CE OF ALTERNAT|VE D|SPUTE RESOLUT|ON SERV|CES

Purpose of Notice

As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. lt also eliminates any uncertainty about the results of a trial.

Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Og|_igations in Court A_re Not Affected §y This Notice

You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. ln some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. |F YOU HAVE BEEN SERVED WlTH A PET|T|ON, YOU MUST FlLE A RESPONSE
ON T|ME TO AVO|D THE RlSK 0F DEFAULT JUDGMENT, WHETHER OR NOT YOU CHCOSE TO
PURSUE AN ALTERNAT|VE D|SPUTE RESOLUT|ON PROCEDURE.

A|ternahtive Dispute Reso|gtion Procedures

There are several procedures designed to help parties settle |awsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

(1) Adviso[y Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit, An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

(2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the

parties.

CCADM73

OSCA (7-99) SM30 (SMCC) For Court Use Only Document lD# lS-SMCC-4864 2 (Clvll Procedure Form NO. l, Rules 54 Ol - 54.05,
54.13, and 54 20',506.120 ~ 506 l40, and 506.]50 RSMo

Case: 4:15-cv-01215-AGF Doc. #: 1-1 Filed: 08/10/15 Page: 7 of 43 PagelD #: 11

(3) Early Neutral Evaluation j“ENE”l: A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding

assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process

j4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

(5) Summafry er Tria£ A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial", the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among

the parties
Selecting an A|ternative Dispute Reso|ution Procedure and a Neutral

|f the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutra|. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

The List and Neutral Qualif'ication Forms are provided only as a convenience to the parties in selecting

a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms
You should ask your lawyer for further information.

CCADl\/l73

OSCA (7-99) SM3O (SMCC) For Court Use Only' Document lD# lS-SMCC-4864 3 (Civil Procedure Form No. l, Rules 54.01 - 54.05,
54.13, and 54.20', 506.12() - 506.140, and 506.]50 RSMo

Case: 4:15-cv-01215-AGF Doc. #: 1-1 Filed: 08/10/15 Page: 8 of 43 PagelD #: 12

STATE OF MlSSOURl )
)
ST. LOUIS COUNTY )
IN THE CIRCUIT COURT OF THE ST. LOUIS COUNTY
STATE OF MISSOURI

ST. LOUIS HEART CENTER, INC.,
individually and on behalf of all others similarly-

situated, Case No.: ISSL-CC01757
Plaintiff, Division: 36

v.

ATHENAHEALTH, INC., ST. LOUIS COUNTY SHERIFF

Serve: CT Corporation System
120 South Central Ave
Clayton, MO 63l05
St. Louis County

and

JOHN DOES l-lO, HOLD SERVICE

 

Defendants.

PLAINTIFF’S MOTION TO HAVE THE ALIAS SUMMONS ISSUED TO
DEFENDANT ATHENAHEALTH, INC.

COMES NOW, Plaintiff St. Louis Heart Center, Inc. and moves that the Court issue an
alias summons to Defendant AthenaHealth, Inc., directed to their new registered agent (CT
Corporation System, 120 South Central Ave, Clayton, MO 63l05) to be served by the St. Louis
County Sheriff. Please hold service for any summons for John Does l-lO. Fees for service, by

the sheriff, of said summons are being paid at the same time this Motion is being filed.

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Case: 4:15-cv-01215-AGF Doc. #: 1-1 Filed: 08/10/15 Page: 9 of 43 PagelD #: 13

Dated June 17, 2015

Respectf`ully submitted,

/s/ Max G. Margulis
Max G. Margulis, #24325
MARGULIS LAW GROUP
28 Old Belle Monte Rd.
Chesterf`ield, MO 63017
P: (636) 536-7022 - Residential
F: (636) 536-6652 - Residential
E-Mail: MaxMargulis@MargulisLaw.com
Attorneyfor Plaz`ntij”

Brian J. Wanca, of Counsel
ANDERSON + WANCA

3701 Algonquin Road, Suite 500
Rolling Meadows, IL 60008
Telephone: 847/368-1500

Fax: 847/368-1501

E-Mail: bwanca@andersonwanca.com

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Case: 4:15-cv-01215-AGF Doc. #: 1-1 Filed: 08/10/15 Page: 10 of 43 PagelD #: 14

¢ (PDM: MESS)
c ' Transmitta| Number: 13859944

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Rejection of Service of Process
Retum to Sender Informatlon:

Max G. Margulis
Margulis Law Group

28 Old Belle Monte Rd.
Chesterfield, MO 63017

Date: 06/03/2015

Party Served: Athenahealth, lnc.

Tit|e of Action: St. Louis Heart Center, Inc vs. Athenahea|th, Inc.
Court/Agency: St. Louis County Circuit Court , Missouri

Case/Reference No: 155L-CC01757

The service of process received for the party served, as listed above, cannot be forwarded to the intended party for the
reason listed below:

According to our records and the records at the Secretary of State, or other appropriate state agency, we are not the
registered agent for the company you are trying to serve. lt is your responsibility to verify this information with the
Secretary of State or other appropriate state agency.

Our customer records are confidentia|. We do not release any information related to our customers, agent representation or
service of process received. Please contact the Secretary of State or other appropriate agency for more information.

For an electronic copy of the identified service, send your request by e-mai| to sop@cscinfo.com. Please include the
_ transmittal number located ln the upper right-hand corner of this letter.

2711 Centerville Road Wilmington, DE 19808
(888) 690-2882 | sop@cscinfo.com

Doc.ID:18299796

V\id 917le ~ 9103 ’60 GUH[‘ ~ 1111/1003 Siric“i 13 - peii;i A\ieoiuonoaig

Case: 4:15-cv-01215-AGF Doc. #: 1-1 Filed: 08/10/15 Page: 11 of 43 PagelD #: 15
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a IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

  
 

 

 

 

 

 

 

 

 

Judge or Division: Case Number: lSSl.~CC01757 _
ELLEN HANNIGAN RIBAUDO HECEIVED
Plaintiff/Petitioner: Plaintifi’s/Petitioner’s Attomey/Address _
sT. Louis HEART cENTER, lNC. MAX GEORGE MARGULIS JUN 0 1 2015
28 0LD BELLE MONTE ROAD
vs. CHESTERFIELQ, MO 63017 '\OLE COUNT-y
Defendant/RWP°ndent: C°“n Addr”s: SHE RlFF'S OF F l CE
ATHENAHEALTH, INC_ ST LOUIS COUNTY COURT BUlLDING
N““'¢°fs““= §°XYC'?$‘§N$§‘§Y£VE
CC Injunction ’ (Dm F@§mp)
Summons in Civil Case § - , ma
The state of Missouri m ATHENAHEALTH, mc. _ O§ z -,§c£
A|ias: _“. t"’ , .
csc-Lvaans mcoRPoaATmG saavlca mt § O§‘§
221 aole/m g c § ' 93
JEFFERsoN crrv, Mo 65101 -__-_;,Z co 038 >
C`> ..- Z
COURTSEAL OF You are summoned to appear before this court and to tile your pleading to th 0 1 OL' .C"

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which is attached, and to serve a copy of your pleading upon the attorney for Plain tio at th€ '°‘ .'.‘.“
above address all within 30 days after receiving this summons, exclusive of the day

ice. l> you fai_|zb‘:)":r
file your pleading, judgment by default may be taken against you t'or the relief dcman in thF' ition. .`n§:
SPECIAL NEEDS: lf you have special needs addressed by the Americans With Disabiliti

ct, please
notify the Ofiice of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or 'I'I'Y at 314-615-4567, at least

 

` three business days in advance of the court proceeding.
ST. LOUIS COUNI'Y
' l
26- AY-Z 15
Date Clerk
Further lnl'ormation:
TLC
Sheritf’s or Server’s Return

 

Note to sewing otlicer: Summons should be xetumed to the court within thirty days atter the date of issue.
I certify that l have served the above summons by: (check one)

l:l delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
[:] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Reepondent with

a person of the Defendant’s/Respondent’s family over the age of 15 years.
12 (fo;*§'vice on a corporation) deli:lering a copy of the summons and a copy of the petition to

t '( L y § (name) l \9§\ (title).
l:l other

Served at z$b E1 b\\`lL»\ q"|"

(County/City of St. Louis), MO, on

 

(address)

(daw)ar 7"§{ 96»- (am¢). _

Signature of Sheri or Server
Must be sworn before a notary public if not served by an authorized omcer:

         

 

 

 

 

 

Subscribed and sworn to before me on (date).
(Seal)
My commission expires:
Date Notary Public
Sherift’s Fees, if applicable q)_.\
Summons $ '
Non Est $ 9 0
sh¢ntrs Depury salary Q')
Supplemental Surcharge $ lO.QQ `)
Mileage $ ( miles @ $. per mile)
Total S
A copy of the summons and a copy of the petition must be served on each Deti:ndant/Respondent. For methods of service on all classes of
suitslsee Supreme Court Rule 54.

 

 

OSCA (7~99) SM30 (SMCC) For Court U.!¢ only: Document lD# lS-SMCC~3988 l (Civil Procedure Form No. l, Rull 54.01 - 54.05, `

54. l 3, and 54.20; 506.120 - 506.140, and 506.150 RSMo

 

Case: 4:15-cv-01215-AGF Doc. #: 1-1 Filed: 08/10/15 Page: 12 of 43 PagelD #: 16

 

53 IN THE ZIST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MlSSOURl

 

 

 

 

Judge or Division: Case Number: lSSL-CC01757
ELLEN HANN|GAN RIBAUDO
PlaintiFf/Petitioner: Plaintiff"s/Petitioner’s Attomey/Address
ST. Louis HEART CENTER, lNC. MAX GEORGE MARGULIS
28 0LD BELLE MONTE ROAD

vs. CHESTERFIELD, MO 63017
Defendant/Respondent: Court Add"es$:
ATHENAHEALTH, lNC_ ST LOUIS COUNTY COURT BUILDING
;io£€a,:”:i:ai;;s
CC injunction ’ (Date File Stamp)

 

 

 

Summons in Civil Case

The State of Missouri to: ATHENAHEALTH, lNC.
A|ias:
CSC-LAWYERS lNCORPORATlNG SERVlCE
221 BOLlVAR
JEFFERSON ClTY, MO 65101

 

COURTSEAL 0F You are summoned to appear before this court and to file your pleading to the petition, a copy of
which is attached, and to serve a copy of your pleading upon the attorney for P|aintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. lf you fail to
file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

SPECIAL NEEDS: ,lf you have special needs addressed by the Americans With Disabilities Act, please
notify the Ofi`lce of the Circuit Clerk at 314-615-8029, FAX 314~6]5-8739 or TTY at 314-6]5~4567, at least
three business days in advance of the court proceeding.

 

ST. LOUlS COUNTY
26-MAY-2015
Date Clerk

Further lnformation:
TLC

 

Sherifi’s or Server’s Return
Note to serving ofticer: Summons should be returned to the court within thirty days after the date of issue.
l certify that | have served the above summons by: (check one)
ij delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.

[:] leaving a copy of the summons and a copy of` the petition at the dwelling place or usual abode of the Def`endant/Respondent with
a person of` the Defendant’s/Respondent’s family over the age of 15 years.

i:i (t`or service on a corporation) delivering a copy ofthe summons and a copy ofthe petition to

 

 

 

 

 

 

 

 

 

 

 

 

(name) __________ __ ________ __ _ i(title).
ij other
Served at (address)
in (County/City of St. Louis), MO, on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
Must be sworn before a notary public if not served by an authorized officer:
Subscribed and sworn to before me on (date).
(Seal)
My commission expires:
Date Notary Public
Sheriff’s Fees, if applicable
Summons
Non Est $
Sherifi’s Deputy Salary
Supp|emental Surcharge $ l0.00
Mileage $ l miles @ $. per mile)
Total $

A copy of the summons and a copy of the petition must be served on each Def`endant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

 

 

 

OSCA (7-99) SM3O (SMCC) For Court Use Only: Document ID# lS-SMCC-3988 l (Civil Procedure Form No. l, Ru|es 54.0| - 54.05,
54.13, and 54.20; 506.|20 - 506.|40, and 506. 150 RSMo

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THE C|RCU|T COURT OF ST. LOU|S COUNTY, MlSSOURl

Twenty First Judicial Circuit

NOT|CE OF ALTERNAT|VE D|SPUTE RESOLUT|ON SERV|CES

Purgose of Notice

As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of |itigation. lt also eliminates any uncertainty about the results of a trial.

A|ternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Ri_q£ts and OQigations in Cogrt Are Not Affected By This Notice

You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. ln some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. |F YOU HAVE BEEN SERVED WlTH A PET|T|ON, YOU MUST FlLE A RESPONSE
ON T|ME TO AVOlD THE RlSK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNAT|VE D|SPUTE RESOLUT|ON PROCEDURE.

Alterngtive Dispute Resolution Proced_u_res

There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

(1) Adviso[y Arbitration: A procedure in Which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit, An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted

(2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.

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OSCA (7~99) SMJO (SMCC) For Court Use Only Document lD# 15-SMCC-3988 2 (Civil Procedure Form No l, Rules 54 01 - 54.05,
54 13, and 54 20; 506. 120 - 506 140, and 506.150 RSMo

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(3) Earl Neutral Evaluation “ENE” : A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

j4) Mini-Tria|: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

(5) Summag( Jurv Trigl_: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial", the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among

the parties.
Se|ecting an A|ternative Dispute Reso|ution Procedure and a Neutral

|f the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutra|. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

The List and Neutral Qualiflcation Forms are provided only as a convenience to the parties in selecting

a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.

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OSCA (7~99) SM30 (SMCC) Far Court Use Only: Document ID# lS-SMCC-3988 3 (Civil Procedure Form No. l, Rules 54.0] - 54.05,
54.13, and 54.20; 506.120 - 506.140, and 506. l50 RSMo

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|n the
- - - FlLED
Of St. Louis County, Missouri 5/21/2015
JOAN M. G|LMER

MAY 21l 2015

§§ Louis HEART cENTER, Date C|Rcu|.r CLERK

Piainurr 1531_-0001757 ST. LOU|S COUNT¥
Case Number

VS.
Div36

ATHENAHEALTH, lNC. D“"S‘°"

Defendant .

CASE ASS|GNMENT MEMO

X ASS|GNMENT TO ASSOC|ATE C|RCU|T JUDGE

Pursuant to Local Rule 6.1, case _L assigned _ reassigned to Division 36 for
hearing and determination on the record under practices and procedures applicable before

Circuit Judges; record to be made by electronic recording device.

POST CONV|CT|ON REL|EF MOT|ON

Pursuant to Local Rule 67.7, case _ assigned _ reassigned to Division for
hearing and determination

ASS|GNMENT TO C|RCU|T JUDGE

Case _ assigned _ reassigned to Division for hearing and determination

CASE SET FOR HEAR|NG
Case set for hearing on , 201, at A.M./P.M.

CCCDT235-WA 04/14

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158L-CC01757

IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS

STATE OF MISSOURI
ST. LOUIS HEART CENTER, INC., individually _
and on behalf of all others similarly-situated, Cause No.
Plaintiff, Division
v.

ATHEANHEALTH, INC.,
and JOHN DOES 1-10,

 

Defendants.
MOTION FOR CLASS CERTIFICATION l
COMES NOW Plaintiff`, individually and on behalf of all others similarly situated, by
and through its undersigned counsel, and for its Motion for Class Certification, states
1. This cause should be certified as a class because all of the necessary elements of
Rule 52.08 are met.
2. Plaintiff requests that the Court certify a class, so the common claims of the Class
members, based on a uniform legal theory and factual allegations applicable to all Class

members, can be resolved on a class-wide basis.

 

l. Recent developments in class action practice make necessary the filing of this motion
with the petition. Defendants in class litigation have resorted to making individual settlement
offers to named plaintiffs before a class action is certified in an attempt to “pick-of`f” the putative
class representative and thereby derail the class action litigation Most courts have rejected these
pick-off attempts and have held that the filing of a motion for class certification with the initial
petition or within a number of days after service of any settlement offer to a named plaintiff
staves off offers of judgment to the named plaintiff. Any settlement offer made after the filing of
the motion for class certification must be made on a class-wide basis. See Alpern v. UtiliCorp
Um`ted, 84 F.3d 1525 (8th Cir. 1996); Weiss v. Regal Colleclions, 385 F. 3d 337, 344 n. 12 (3d
Cir. 2004); see Jancik v. Cavalry Portfoll`o Servs., 2007 WL 1994026, at *2-3 (D. Minn. July 3,
2007) Harris v. Messerli & Kramer, P.A., 2008 WL 508923, at *2~3 (D. Minn. Jan, 2, 2008)
(same); Johnson v. U.S. Bank Nal’l Assn., 276 F.R.D. 330, 333-335 (D. Minn. 2011) (same). See
also Lucero v. Bureau of Collection Recovery, Inc., 639 F.3d 1239, 1249 (IOth Cir. 2011); Mey
v. Monitronics Int’l, Inc., 2012 WL 983766, at * 4-5 (N.D. W.Va. Mar. 22, 2012); Hrl'vnak v.
NCO Portfolio Mgmt., Inc., 723 F.Supp.2d 1020, 1029 (N.D. Ohio 2010); McDowall v. Cogan,
216 F.R.D. 46, 48-50 (E.D. N.Y. 2003).

2.

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3. Plaintiff proposes the following Class definition:

All persons who on or after four years prior to the filing of this action, were
sent telephone facsimile messages of material advertising healthcare
seminars or how to become more profitable by or on behalf of Defendants.

4. Under Rule 52.08(a)(1), to bring a Class action, the Class must be “so numerous
that joinder of all members is impracticable.” Rule 52.08(a)(1). Here, there arc at least hundreds
of persons who fall within the Class definition Thus, the numerosity requirement of Rule
52.08(a)(1) is satisfied.

5. There are questions of law or fact common to the Class members.

6. The claims or defenses of the representative parties are typical of the claims or
defenses of this Class.

7. Plaintiff and its counsel will fairly and adequately protect the interest of the Class.

8. Common issues of law or fact predominate over any individual issues, and a class
action is the superior method for the fair and efficient adjudication of this controversy.

9. The prosecution of separate actions by individual members of the class would
create a risk of inconsistent or varying adjudications which would establish incompatible
standards of conduct for the party opposing the class,

10. The prosecution of separate actions by individual members of the class would
create a risk of adjudications with respect to individual members of the class which would as a
practical matter be dispositive of the interests of the other members not parties to the
adjudications or substantially impair or impede their ability to protect their interests.

l l. Plaintiff requests additional time to file its supporting Memorandum of Law after

the Court sets up an appropriate discovery schedule Written discovery related to class
certification issues is presently outstanding

WHEREFORE, Plaintiff prays that this Court certify this case as a class action, grant

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statutory injunctive relief prohibiting Defendants from sending advertising materials via fax to
members of the class, and further pray that the Court appoint Plaintiff as Class Representative,
appoint Plaintiff’s attorneys Class Counsel; that this Court allow Plaintiff additional time, for
completion of discovery related to class certification issues, to file its Memorandum of Law in
Support of this Motion; and for such other and further relief as the Court deems appropriate

under the circumstances,
Respectfully submitted,

/s/ Max G. MMis
Max G. Margulis, #24325
MARGULIS LAW GROUP
28 Old Belle Monte Rd.
Chesterfield, MO 63017
P: (636) 536-7022 ~ Residential
F: (636) 536-6652 ~ Residential
E-Mail: MaxMargulis@MargulisLaw.com

Of Counse|

Brian J. Wanca

ANDERSON + WANCA

3701 Algonquin Road, Suite 500
Rolling Meadows, IL 60008

Phone: (847) 368-1500

Fax: (847) 368-1501

E-Mail: bwanca@andersonwanca.com

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was served on the Defendant AthenaHealth,
Inc. by the Cole County Sheriff` at the same time as the petition.

/s/ Max G. Margulis

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158 L-CC01 757

STATE OF MlSSOURl )

)
sT. Louis COUNTY )

IN THE CIRCUIT COURT OF THE ST. LOUIS COUNTY

 

 

 

 

 

STATE OF MISSOURI
ST. LOUIS HEART CENTER, INC., individually and
on behalf of all others similarly-situated, Cause No.
Plaintiff, Division
v.
ATHENAHEALTH, INC., COLE COUNTY SHERIFF
Serve: CSC-Lawyers Incorporating Service
221 Bolivar
Jefferson City, MO 65101
Cole County
and
JOHN DOES 1-10, HOLD SERVICE §
Defendants. l
CLASS ACTION PETITION

 

Plaintiff, ST. LOUIS HEART CENTER, lNC. (“Plaintiff”), brings this action on behalf of
itself and all others similarly situated, through its attorneys, and except as to those allegations
pertaining to Plaintiff or its attorneys, which allegations are based upon personal knowledge.
alleges the following upon information and belief against Defendants, ATHENAHEALTH, INC.,
and JOHN DOES 1-1 0 (“Defendants”):

PRELIMINARY STATEMENT
1. This icase challenges Defendants’ practice of sending unsolicited facsimile

advertisements

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2. The federal Telephone Consumer Protection Act, 47 USC § 227, prohibits a person
or entity from sending or having an agent send fax advertisements without the recipient’s prior
express invitation or permission (“advertising faxes” or “unsolicited faxes”) and without a proper
opt out notice. The TCPA provides a private right of action and provides statutory damages of
$500 per violation

3. Unsolicited faxes damage their recipients. An advertising fax recipient loses the
use of its fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable
time that would have been spent on something else. An advertising fax interrupts the recipient’s
privacy. Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use
for authorized outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and
require additional labor to attempt to discern the source and purpose of the unsolicited message.
An advertising fax consumes a portion of the limited capacity of the telecommunications
infrastructure serving the victims of advertising faxing.

4. On behalf of itself and all others similarly situated, Plaintiff brings this case as a
class action asserting claims against Defendants under the TCPA, the common law of conversion
and Missouri consumer and fraud and deceptive business practices act Chapter 407.

5. Plaintiff seeks an award of statutory damages for each violation of the TCPA,

JURISDICTION AND PARTIES

6. This court has personal jurisdiction over Defendants because Defendants transacts
business within this state, have made contracts within this state, and/or have committed tortious
acts within this state and otherwise have sufficient minimum contacts with the State of Missouri.

7. Plaintiff ST. LOUIS HEART CENTER, lNC., is a Missouri corporation

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8. On information and belief, Defendant, ATHENAHEALTH, INC., is an
Massachusetts corporation registered to do business in Missouri as a foreign corporation

9. Defendant, John Does 1-10 will be identified through discovery, but are not
presently known

RELEVANT FACTS

10. On or about the dates of February 2012 and June 2012. Defendants sent 2
unsolicited facsimiles to Plaintiff in St. Louis County, Missouri. A true and correct copy of the
facsimiles are attached as Exhibits A - B (excluding any handwritten notations).

ll. The transmissions sent to Plaintiff on or about February 2012 and June 2012
constitutes material advertising the commercial availability of any property, goods or services.

12. On information and belief, Defendant has sent other facsimile transmissions of
material advertising the commercial availability of property, goods, or services to many other
persons as part of a plan to broadcast fax advertisements, of which Exhibits A - B are examples.

13. Defendants approved, authorized and participated in the scheme to broadcast fax
advertisements by (a) directing a list to be purchased or assembled; (b) directing and supervising
employees or third parties to send the faxes; (c) creating and approving the form of fax to be sent;
and (d) determining the number and frequency of the facsimile transmissions

14. Defendants created or made Exhibits A - B and other fax advertisements, which
Defendants distributed to Plaintiff and the other members of the class.

15. Exhibits A - B and the other facsimile advertisements are a part of Defendants’
work or operations to market Defendants’ goods or services which were performed by Defendants

and on behalf of Defendants.

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16. Exhibits A - B and the other facsimile advertisements constitute material furnished
in connection With Defendants’ work or operations

17. The transmission of facsimile advertisements including Exhibits A - B, to Plaintiff
did not contain a notice that informs the recipient of the ability and means to avoid future
unsolicited advertisements

18, The transmission of facsimile advertisements including Exhibits A ~ B, to Plaintiff
did not contain a notice that states that the recipient may make a request to the sender of the
advertisement not to send any future advertisements to a telephone facsimile machine or machines
and that failure to comply, within 30 days with such a request meeting the requirements under
paragraph 47 C.F.R. 64.1200(a)(4)(v) of this section is unlawful.

19. The transmission of facsimile advertisements including Exhibits A - B, to Plaintiff
did not contain a notice that complied with the provisions of 47 U.S.C. § 227(b)(1)(C) and/or 47
C.F.R. 64.1200(a)(4).

20. The transmission of facsimile advertisements including Exhibits A - B, to Plaintiff
was required to contain a notice that complied with the provisions of 47 U.S.C. § 227(b)(1)(C)
and/or 47 C.F.R. 64.1200(a)(4).

21. On information and belief, Defendants sent multiple facsimile advertisements to
Plaintiff and members of the proposed classes throughout the time period covered by the class
definitions

22. On information and belief, Defendants faxed the same and other facsimile
advertisements to the members of the proposed classes in Missouri and throughout the United

States without first obtaining the recipients’ prior express permission or invitation

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23. There is no reasonable means for Plaintiff (or any other class member) to avoid
receiving unlawful faxes, Fax machines are left on and ready to receive the urgent
communications their owners desire to receive.

24. Defendants knew or should have known that: (a) facsimile advertisements
including Exhibits A - B were advertisements (b) Plaintiff and the other members of the class had
not given their prior permission or invitation to receive facsimile advertisements (c) No
established business relationship existed with Plaintiff and the other members of the class; and (d)
Defendants did not display a proper opt out notice.

25. Defendants engaged in the transmissions of facsimile advertisements including
Exhibits A - B believing such transmissions were legal based on Defendants’ own understanding
of the law and/or based on the representations of others on which Defendants reasonably relied.

26. Defendants did not intend to send transmissions of facsimile advertisements
including Exhibits A - B to any person where such transmission was not authorized by law or by
the recipient, and to the extent that any transmissions of facsimile advertisement was sent to any
person and such transmission was not authorized by law or by the recipient, such transmission was
made based on either Defendants’ own understanding of the law and/or based on the
representations of others on which Defendants reasonably relied.

27. Defendants failed to correctly determine the legal restrictions on the use of
facsimile transmissions and the application of those restrictions to the transmission of facsimile
advertisements including Exhibits A - B both to others in general, and specifically to Plaintiff.

28. The transmissions of facsimile advertisements including Exhibits A - B to Plaintiff

and other members of the class caused destruction of Plaintiffs property.

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29. The transmissions of facsimile advertisements including Exhibits A - B to Plaintiff
and other members of the class interfered with Plaintiffs and other members of the class’ exclusive
use of their property.

30. The transmissions of facsimile advertisements including Exhibits A - B to Plaintiff
and other members of the class interfered with Plaintiff‘s and other members of the class’ business

and/or personal communications

COUNT I
TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. §HZ

31. Plaintiff incorporates the preceding paragraphs as though fully set forth herein
32. Plaintiff brings Count 1 pursuant to the Telephone Consumer Protection Act, 47
U.S.C. § 227, on behalf ofthe following class of persons:

All persons who (1) on or after four years prior to the filing of this action, (2)
were sent by or on behalf of Defendants any telephone facsimile
transmissions of material making known the commercial existence of, or
making qualitative statements regarding any property, goods or services (3)
with respect to whom Defendants cannot provide evidence of prior express
permission or invitation for the sending of such faxes, (4) with whom
Defendants does not have an established business relationship or (5) which
did not display a proper opt out notice.

33. A class action is warranted because:
a. On information and belief, the class includes more than forty persons and is
so numerous thatjoinder of all members is impracticable
b. There are questions of fact or law common to the class predominating over
questions affecting only individual class members including without limitation:

i. Whether Defendants engaged in a pattern of sending unsolicited fax

advertisements

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ii. Whether Exhibits A - B and other faxes transmitted by or on behalf
of Defendant contain material advertising the commercial availability of any
property, goods or services

iii. Whether Defendants’ facsimiles advertised the commercial
availability of property, goods or services

iv. The manner and method Defendants used to compile or obtain the
list of fax numbers to which they sent Exhibits A ~ B and other unsolicited
faxed advertisements

v. Whether Defendants faxed advertisements without first obtaining the
recipients’ prior express permission or invitation;

vi. Whether Defendants violated the provisions of 47 USC § 227;

vii. Whether Plaintiff and the other class members are entitled to
statutory damages

viii. Whether Defendants knowingly violated the provisions of 47 USC §
227;

ix. Whether Defendants should be enjoined from faxing advertisements
in the future;

x. Whether Plaintiff and the Class are entitled to damages treble
damages declaratory and/or injunctive relief; and

xi. Whether Exhibits A - B and the other fax advertisements sent by or
on behalf of Defendants displayed the proper opt out notice required by 64

C.F.R. 1200.

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c. Plaintiff’ s claims are typical of the other class members

d. Plaintiff will fairly and adequately protect the interests of the other class
members Plaintiff’ s counsel are experienced in handling class actions and claims
involving unsolicited advertising faxes, Neither Plaintiff nor Plaintiff" s counsel has
any interests adverse or in conf1ict with the absent class members

e. A class action is the superior method for adjudicating this controversy fairly
and efficiently. The interest of each individual class member in controlling the
prosecution of separate claims is small and individual actions are not economically
feasible.

34. Plaintiff will fairly and adequately protect the interests of the other class members
Plaintiff’s counsel are experienced in handling class actions and claims involving unsolicited
advertising faxes Neither Plaintiff nor Plaintiff’s counsel has any interests adverse or in conf1ict
with the absent class members

35. A class action is an appropriate method for adjudicating this controversy fairly and
efficiently. The interest of each individual class member in controlling the prosecution of separate
claims is small and individual actions are not economically feasible.

36. The TCPA prohibits the “use of any telephone facsimile machine, computer or
other device to send an unsolicited advertisement to a telephone facsimile machine....” 47 U.S.C.
§ 227(b)(1).

37. The TCPA defines “unsolicited advertisement,” as “any material advertising the

commercial availability or quality of any property, goods or services which is transmitted to any

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person without that person’s express invitation or permission written or otherwise.” 47 U.S.C. §
227(a)(5).
38. The TCPA provides

Private right of action A person may, if otherwise permitted by the laws or
rules of court of a state, bring in an appropriate court of that state:

(A) An action based on a violation of this subsection or the regulations
prescribed under this subsection to enjoin such violation,

(B) An action to recover for actual monetary loss from such a violation,
or to receive $500 in damages for each such violation, whichever is greater,
or

(C) Both such actions

39. The Court, in its discretion, may treble the statutory damages if the violation was
knowing. 47 U.S.C. § 227,

40. The TCPA is a strict liability statute and the Defendants are liable to Plaintiff and
the other class members even if their actions were only negligent.

41. Defendants’ actions caused damages to Plaintiff and the other class members
Receiving Defendants’ advertising faxes caused the recipients to lose paper and toner consumed in
the printing of Defendants’ faxes. Moreover, Defendants’ actions interfered with Plaintiff’ s use of
its fax machine and telephone line connected to that fax machine Defendants’ faxes cost Plaintiff
time, as Plaintiff and/or its employees wasted their time receiving, reviewing and routing
Defendants’ unlawful faxes That time otherwise would have been spent on Plaintiff"s business

activities Finally, Defendants’ faxes unlawfully interrupted Plaintiff’s and the other class

members’ privacy interests in being left alone

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42. Defendants did not intend to cause damage to Plaintiff and the other class members
did not intend to violate their privacy, and did not intend to interfere with recipients’ fax machines
or consume the recipients’ valuable time with Defendants’ advertisements

43. If the court finds that Defendants knowingly violated this subsection or the
regulations prescribed under this subsection, the court may, in its discretion, increase the amount
of the award to an amount equal to not more than three times the amount available under
subparagraph (B) ofthis paragraph 47 U.S.C. § 227(b)(3).

44. Defendants knew or should have known that: (A) Plaintiff and the other class
members had not given express permission or invitation for Defendants or anyone else to fax
advertisements about Defendants’ goods or services (B) Defendants did not have an established
business relationship with Plaintiff and the other members of the class, (C) Exhibits A ~ B and the
other facsimile advertisements were advertisements and (D) Exhibits A ~ B and the other
facsimile advertisements did not display the proper opt out notice

45. Defendants violated 47 U.S.C. § 227 et seq. by transmitting Exhibits A - B and the
other facsimile advertisements hereto to Plaintiff and the other members of the class without
obtaining their prior express permission or invitation and not displaying the proper opt out notice
required by 64 C.F.R. 1200.

46. Defendants knew or should have known that: (a) documents Exhibits A ~ B and the
other facsimile advertisements were advertisements (b) Defendants did not obtain prior
permission or invitation to send facsimile advertisements including Exhibits A ~ B; (c)

Defendants did not have an established business relationship with Plaintiff or the other members of

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the class and (d) Exhibits A - B and the other facsimile advertisements did not display a proper opt
out notice

47. Defendants engaged in the transmissions of documents Exhibits A - B and the other
facsimile advertisements believing such transmissions were legal based on Defendants’ own
understanding of the law and/or based on the representations of others on which Defendants
reasonably relied.

48. Defendants did not intend to send transmissions of documents Exhibits A - B and
the other facsimile advertisements to any person where such transmission was not authorized by
law or by the recipient, and to the extent that any transmissions of documents Exhibits A - B and
the other facsimile advertisements were sent to any person and such transmission was not
authorized by law or by the recipient, such transmission was made based on either Defendants’
own understanding of the law and/or based on the representations of others on which Defendants
reasonably relied.

49. Defendants failed to correctly determine the legal restrictions on the use of
facsimile transmissions and the application of those restrictions to the transmission of documents
Exhibits A - B and the other facsimile advertisements both to others in general, and specifically to
Plaintiff.

50. Defendants’ actions caused damages to Plaintiff and the other class members
because their receipt of Defendants’ unsolicited fax advertisements caused them to lose paper and
toner consumed as a result. Defendants’ actions prevented Plaintiff’ s fax machine from being used
for Plaintiff’s business purposes during the time Defendants were using Plaintiff‘ s fax machine for

Defendants’ unauthorized purpose Defendants’ actions also cost Plaintiff employee time, as

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Plaintiff’ s employees used their time receiving, routing and reviewing Defendants’ unauthorized
faxes and that time otherwise would have been spent on Plaintiff" s business activities Finally, the
injury and property damage sustained by Plaintiff and the other members of the class occurred
outside of Defendants’ premises Pursuant to law, Plaintiff, and each class member, instead may
recover $500 for each violation of the TCPA.

WHEREFORE, Plaintiff, ST. LOUIS HEART CENTER, fNC., individually and on behalf
of all others similarly situated, demand judgment in its favor and against Defendants
ATHENAHEALTH, INC. and JOHN DOES 1-10, as follows

A. That the Court adjudge and decree that the present case may be properly maintained
as a class action, appoint Plaintiff as the representative of the class, and appoint Plaintiff’ s counsel
as counsel for the class

B. That the Court award between $500.00 and $1,500.00 in damages for each violation
of the TCPA;

C. That the Court enter an injunction prohibiting the Defendants from engaging in the
statutory violations at issue in this action; and

D. That the Court award costs and such further relief as the Court may deem just and
proper.

E. That the Court award pre-judgment and post-judgment interest at the statutory rate

of 9%.

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ML
Declaratory Relief
51. Plaintiff incorporates by reference all allegations of all preceding paragraphs as if
fully set forth herein
52. As a result of Defendants’ actions described herein, a justiciable controversy that

presents a real, substantial, presently-existing controversy admitting of specific relief, and Plaintiff
and the Class have legally protectable interests at stake
53. A declaration that Defendants’ actions as described herein, violate the TCPA is

warranted.

COUNT III
CONVERSION

54. Plaintiff incorporates Paragraphs 3 and 4, 10, 13 - 16, 21 - 23 and 25 - 30 as for its
paragraph 54.
55. In accordance with Mo. S. Ct. Rule 52.08, Plaintiff brings Count II for conversion
under the common law for the following class of persons:
All persons who on or after five years prior to the filing of this action, were
sent telephone facsimile messages by or on behalf of Defendants with respect
to whom Defendants cannot provide evidence of prior express permission or
invitation
56. A class action is proper in that:
a. On information and belief the class is so numerous that joinder of all
members is impracticable

b. There are questions of fact or law common to the class predominating over

all questions affecting only individual class members including:

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i. Whether Defendants engaged in a pattern of sending unsolicited
faxes;

ii. Whether Defendants sent faxes without obtaining the recipients’
prior express permission or invitation of the faxes;

iii. The manner and method Defendants used to compile or obtain the

list of fax numbers to which it sent Exhibits A - B and other unsolicited

faxes;
iv. Whether Defendants committed the tort of conversion; and
v. Whether Plaintiff and the other class members are entitled to recover

actual damages and other appropriate relief.

c. Plaintiff’ s claims are typical of the other class members

d. Plaintiff will fairly and adequately protect the interests of the other class
members Plaintiff’ s counsel are experienced in handling class actions and claims
involving unsolicited advertising faxes, Neither Plaintiff nor Plaintiff’s counsel has
any interests adverse or in conflict with the absent class members

e. A class action is the superior method for adjudicating this controversy fairly
and efficiently. The interest of each individual class member in controlling the
prosecution of separate claims is small and individual actions are not economically

feasible

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57. Plaintiff will fairly and adequately protect the interests of the other class members
Plaintiff has retained counsel who is experienced in handling class actions and claims involving
unlawful business practices Neither Plaintiff nor Plaintiff’ s counsel have any interests adverse or
in conflict with the class

58. A class action is an appropriate method for adjudicating this controversy fairly and
efficiently. The interest of the individual class members in individually controlling the prosecution
of separate claims is small and individual actions are not economically feasible

59. By sending Plaintiff and the other class members unsolicited faxes, Defendants
improperly and unlawfully converted their fax machines toner and paper to its own use.
Defendants also converted Plaintiff’ s employees’ time to Defendants’ own use

60. lmmediately prior to the sending of the unsolicited faxes, Plaintiff, and the other
class members owned an unqualified and immediate right to possession of their fax machine,
paper, toner, and employee time,

61. By sending the unsolicited faxes, Defendants permanently misappropriated the class
members’ fax machines toner, paper, and employee time to Defendants’ own use Such
misappropriation was wrongful and without authorization

62. Defendants knew or should have known that its misappropriation of paper, toner,
and employee time was wrongful and without authorization

63. Plaintiff and the other class members were deprived of the use of the fax machines
paper, toner, and employee time, which could no longer be used for any other purpose Plaintiff
and each class member thereby suffered damages as a result of the sending of unsolicited fax

advertisements from Defendants

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64. Each of Defendants’ unsolicited faxes effectively stole Plaintiff’s employees’ time
because persons employed by Plaintiff were involved in receiving, routing, and reviewing
Defendants’ unlawful faxes. Defendants knew or should have known employees’ time is valuable
to Plaintiff.

65. Defendants’ actions caused damages to Plaintiff and the other members of the class
because their receipt of Defendants’ unsolicited faxes caused them to lose paper and toner as a
result. Defendants’ actions prevented Plaintiff’s fax machines from being used for Plaintiff’s
business purposes during the time Defendants was using Plaintiff’ s fax machines for Defendants’
unlawful purpose Defendants’ actions also cost Plaintiff employee time, as Plaintiff’s employees
used their time receiving, routing, and reviewing Defendants’ unlawful faxes, and that time
otherwise would have been spent on Plaintiff’s business activities

WHEREFORE, Plaintiff, ST. LOUIS HEART CENTER, INC., individually and on behalf
of all others similarly situated, demand judgment in its favor and against Defendants
ATHENAHEALTH, lNC. and JOHN DOES l-lO, as follows

A. That the Court adjudge and decree that the present case may be properly maintained
as a class action, appoint Plaintiff as the representative of the class, and appoint Plaintiff"s counsel
as counsel for the class

B. That the Court award appropriate damages

C. That the Court award costs of suit; and

D. Awarding such further relief as the Court may deem just and proper.

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COUNT IV

MISSOURI CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

66.
paragraph 66.

67.

Cha ter 407
Plaintiff incorporates Paragraphs 3 and 4, 10, 13 - 16, 21 - 23 and 25 - 30 as for its

ln accordance with Chapter 407, Plaintiff, on behalf of the following class of

persons bring Count IV for Defendants’ unfair practice of sending unsolicited and unlawful fax

advertisements

68.

All persons who on or after four years prior to the filing of this action, were
sent telephone facsimile messages by or on behalf of Defendants with respect
to whom Defendants cannot provide evidence of prior express permission or
invitation
A class action is proper in that:
a. On information and belief the class consists of over 40 persons in Missouri
and throughout the United States and is so numerous that joinder of all members is
impracticable
b. There are questions of fact or law common to the class predominating over
all questions affecting only individual class members including:
i. Whether Defendants engaged in a pattern of sending unsolicited
faxes;
ii. The manner and method Defendants used to compile or obtain the
list of fax numbers to which it sent Exhibits A - B and other unsolicited
faxes

iii. Whether Defendants’ practice of sending unsolicited faxes violates

Missouri public policy;

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iv. Whether Defendants’ practice of sending unsolicited faxes is an
unfair practice under the Missouri Merchandising Practices Act (MMPA),
Chapter 407 RSM‘O; and

v. Whether Defendants should be enjoined from sending unsolicited

fax advertising in the future

vi.
c. Plaintiff"s claims are typical of the other class members
d. Plaintiff will fairly and adequately protect the interests of the other class

members Plaintiff’s counsel are experienced in handling class actions and claims
involving unsolicited advertising faxes, Neither Plaintiff nor Plaintiff’s counsel has
any interests adverse or in conflict with the absent class members
e. A class action is the superior method for adjudicating this controversy fairly
and efficiently. The interest of each individual class member in controlling the
prosecution of separate claims is small and individual actions are not economically
feasible
69. Plaintiff will fairly and adequately protect the interests of the other class members
Plaintiff has retained counsel who are experienced in handling class actions and claims involving
lawful business practices Neither Plaintiff nor Plaintiff’s counsel have any interests adverse or in
conflict with the class
70. A class action is an appropriate method for adjudicating this controversy fairly and
efficiently. The interest of the individual class members in individually controlling the prosecution

of separate claims is small and individual actions are not economically feasible

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71. Defendants’ unsolicited fax practice is an unfair practice, because it violates public
policy, and because it forced Plaintiff and the other class members to incur expense without any
consideration in return Defendants’ practice effectively forced Plaintiff and the other class
members to pay for Defendants’ advertising campaign

72. Defendants violated the unfairness predicate of the Act by engaging in an
unscrupulous business practice and by violating Missouri statutory public policy, which public
policy violations in the aggregate caused substantial injury to hundreds of persons

73. Defendants’ misconduct caused damages to Plaintiff and the other members of the
class including the loss of paper, toner, ink, use of their facsimile machines and use of their
employees’ time

74. Defendants’ actions caused damages to Plaintiff and the other class members
because their receipt of Defendants’ unsolicited faxes caused them to lose paper and toner
consumed as a result. Defendants’ actions prevented Plaintiff’s fax machine from being used for
Plaintiff’s business purposes during the time Defendants were using Plaintiffs fax machine for
Defendants’ unlawful purpose Defendants’ actions also cost Plaintiff employee time, as
Plaintiff’ s employees used their time receiving, routing, and reviewing Defendants’ unlawful faxes
and that time otherwise would have been spent on Plaintiff’s business activities

WHEREFORE, Plaintiff, ST. LOUIS HEART CENTER, INC., individually and on behalf
of all others similarly situated, demand judgment in its favor and against Defendants

ATHENAHEALTH, lNC. and JOHN DOES 1-10, as follows

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A.

That the Court adjudge and decree that the present case may be properly maintained

as a class action, appoint Plaintiff as the class representative and appoint Plaintiff’s counsel as

counsel for the class

B.

C.

That the Court award damages to Plaintiff and the other class members

That the Court award treble damages to Plaintiff and the other class members for
knowing violations of the TCPA;

That the Court declare that Defendants’ conduct violated the TCPA and that this
action isjust and proper;

That the Court award damages for conversion of the plaintiffs and the class for
violation of their rights

That the Court award damages and attorney fees for violation of Chapter 407;

That the Court award attorney fees and costs

That the Court award all expenses incurred in preparing and prosecuting these
claims

That the Court enter an injunction prohibiting Defendants from sending faxed
advertisements

Issuing declaratory judgment that Defendant’s actions as described herein, violate
the TCPA’s prohibition on making telephone calls to cellular telephones using any
automatic telephone dialing system without the prior express permission of the
called party; and

Awarding such further relief as the Court may deem just and proper.

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Respectfully submitted,

/s/ Max G. Margulis
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The Ritz Carlton, St. Louis ~ St. Louis, MG ' qq b
Thursdey, April 5, 2012 v 6 pm

 

 

 

v This complimentary dinner seminar is invitation-only. Seatlng is limitod.
To register to ettend, please fextliis form to 888.512.8436.

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[ ] Yes, l plan to attend; please see the information below

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7:30 p.m. Questions and Networking

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iv How to get paid up to $44,000 for Meaningful Use without
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v How we can minimize disruption with the current ANSi 5010
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Four Seasons Hotel St. Louis ¢ St. Louis, MO
Thursday, luly 26, 2012 - 6 pm

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This complimentary dinner seminar is invitation -only. Seating is llmlted.
To register to attend, please faxthis form to 888.512.8436.

Reglstratlon Form

[ ] Yes, | plan to attend; please see the infomratlon below

[ ] unfortunately, l cannot attend; but l am interested in leamlng more about athenahealth

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